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                       IN THE UNTED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION                           ENTERED
                                                                             07/13/2021


 In re:                                        Chapter 11

 LIMETREE BAY SERVICES, LLC,                   Case No.: 21-32351

                   Debtor.

 EIN XX-XXXXXXX

 In re:                                        Chapter 11

 LIMETREE BAY REFINING HOLDINGS,               Case No.: 21-32352
 LLC,

                   Debtor.

 EIN XX-XXXXXXX

 In re:                                        Chapter 11

 LIMETREE BAY REFINING HOLDINGS II,            Case No.: 21-32353
 LLC,

                   Debtor.

 EIN XX-XXXXXXX

 In re:                                        Chapter 11

 LIMETREE BAY REFINING, LLC,                   Case No.: 21-32354

                   Debtor.

 EIN XX-XXXXXXX

 In re:                                        Chapter 11

 LIMETREE BAY REFINING OPERATING,              Case No.: 21-32355
 LLC,

                   Debtor.

 EIN XX-XXXXXXX




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    In re:                                                                Chapter 11

    LIMETREE BAY REFINING MARKETING,                                      Case No.: 21-32356
    LLC,

                      Debtor.

    EIN XX-XXXXXXX
                                                                                 (Docket No. 4)


           ORDER PURSUANT TO BANKRUPTCY RULE 1015(b) AND LOCAL
       RULE 1015-1 DIRECTING JOINT ADMINISTRATION OF CHAPTER 11 CASES
             Upon the motion (the “Motion”) 2 of Limetree Bay Services, LLC and its debtor affiliates,

as debtors and debtors in possession (collectively, the “Debtors”), for an order pursuant to

Bankruptcy Rule 1015(b) and Local Rule 1015-1 directing the joint administration of the Debtors’

Chapter 11 Cases for procedural purposes only, as more fully described in the Motion; and due

and proper notice of the Motion having been provided; and the relief requested in the Motion being

in the best interests of the Debtors, their estates, their creditors, and other parties in interest; and

the Court having determined that the legal and factual bases set forth in the Motion establish just

cause for the relief granted herein;

             IT IS HEREBY ORDERED:

             1.       The Motion is granted as set forth herein.

             2.       Pursuant to Bankruptcy Rule 1015(b) and Local Rule 1015-1, the above-captioned

Chapter 11 Cases are consolidated for procedural purposes only and shall be jointly administered

by the Court under Case No. 21-32351 (DRJ). Additionally, the following checked items are

ordered:




2   Capitalized terms used but not otherwise defined herein shall have the meanings given to them in the Motion.



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              A. __X__ One disclosure statement and plan of reorganization may be filed for the

                   Debtors by any plan proponent.

              B. __X__ Any of the above-captioned cases with a higher case number shall be

                   transferred to Judge Jones, who has the lower numbered case.

              C. __X__ Parties may request joint hearings on matters pending in any of the jointly

                   administered cases.

              D. __X__ Other: See below

         3.        Nothing contained in this Order shall be deemed or construed as directing or

otherwise affecting substantive consolidation of any of the Chapter 11 Cases, the Debtors, or the

Debtors’ estates. The caption of the jointly administered Chapter 11 Cases should read as follows:

                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

    IN RE:                                                             CHAPTER 11

    LIMETREE BAY SERVICES, LLC, et al., 3                              CASE NO.: 21-32351

              Debtors.                                                 (Jointly Administered)


         4.        The foregoing caption satisfies the requirements set forth in Section 342(c)(1) of

the Bankruptcy Code.

         5.        The Clerk of this Court shall enter this order on the docket of each of the Chapter

11 Cases, with the exception of the Limetree Bay Services, LLC case, and shall make the following

docket entry in each such case:



3
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, as
applicable, are: Limetree Bay Services, LLC (1866); Limetree Bay Refining Holdings, LLC (1776); Limetree Bay Refining
Holdings II, LLC (1815); Limetree Bay Refining, LLC (8671); Limetree Bay Refining Operating, LLC (9067); Limetree Bay
Refining Marketing, LLC (9222). The Debtors’ mailing address is Limetree Bay Services, LLC, 11100 Brittmoore Park Drive,
Houston, TX 77041.



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                   An order has been entered in this case in accordance with Rule
                   1015(b) of the Federal Rules of Bankruptcy Procedure directing the
                   joint administration of this case with the chapter 11 case of Limetree
                   Bay Services, LLC. The docket in the case of Limetree Bay
                   Services, LLC No. 21-32351 (DRJ), should be consulted for all
                   further documents filed and all matters affecting this case.

         6.        The Debtors shall maintain and the Clerk of the United States Bankruptcy Court

for the Southern District of Texas shall keep one consolidated docket, one file, and one

consolidated service list for these Chapter 11 Cases.

         7.        Nothing contained in the Motion or this Order shall be deemed or construed as

directing or otherwise effecting a substantive consolidation of these Chapter 11 Cases, and this

Order is without prejudice to the rights of any party in interest to seek entry of an Order

substantively consolidating these cases.

         8.        The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b).

         9.        Notice of the Motion as provided therein shall be deemed good and sufficient and

satisfies the requirements of the Bankruptcy Rules and the Local Rules.

         10.       The terms and conditions of this Order are immediately effective and enforceable

upon its entry.

         11.       The Debtors are authorized to take all steps necessary or appropriate to carry out

this Order.

         12.       This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation, interpretation, or enforcement of this Order.



    Signed: July 13, 2021.
Dated:
                                                        Honorable David R. Jones
                                                        United States Bankruptcy Judge
                                                     ____________________________________
                                                     DAVID R. JONES
                                                     UNITED STATES BANKRUPTCY JUDGE




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